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VAN−019 Deficiency Notice − Petitions (BNC) − Rev. 07/08/2019

                              UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF NORTH CAROLINA
                                                            Raleigh Division

IN RE:
Torrez Brookshire Harris                                            CASE NO.: 19−05347−5−SWH
( debtor has no known aliases )
5141 Casland Drive                                                  DATE FILED: November 18, 2019
Raleigh, NC 27604
                                                                    CHAPTER: 13




                                                        DEFICIENCY NOTICE

To: Torrez Brookshire Harris
The above referenced petition has been filed. In order for the case to be administered, it is necessary that
the item(s) described below be filed by December 2, 2019 .

Declaration Concerning Debtors Schedules, Schedules A − J, Statement of Affairs and Statement of
Current Monthly Income

Pursuant to §521(i)(1) of the Bankruptcy Code, this case may be automatically dismissed effective on the
46th day after the date of the filing of the petition if the above listed deficiency is not corrected. Should the
case be dismissed and the debtor(s) file another petition within one year, the automatic stay may be limited
to 30 days or may not go into effect absent a motion and order imposing or extending the automatic stay.

The Chapter 13 plan must be filed by December 2, 2019 .

The Summary of Your Assets and Liabilities and Certain Statistical Information must be filed by
December 2, 2019 .

Pursuant to Bankruptcy Rule 1008, all petitions, lists, schedules, statements, and amendments should be
verified or contain an unsworn declaration as provided in 28 U.S.C. 1746.

The three day mailing period as provided for under Rule 9006(f), Federal Rules of Bankruptcy Procedure,
does not apply.

DATED: November 18, 2019

                                                                   Erin Donnery
                                                                   Deputy Clerk
